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 1                                                          THE HONORABLE RICHARD A. JONES

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 5                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 6                                        AT SEATTLE

 7
       BLACK LIVES MATTER SEATTLE-KING
 8     COUNTY, ABIE EKENEZAR, SHARON
       SAKAMOTO, MURACO KYASHNA-
 9     TOCHA, ALEXANDER WOLDEAB,                             NO. 2:20-cv-00887
       NATHALIE GRAHAM, and ALEXANDRA
10     CHEN,                                                 DECLARATION OF CESAR HIDALGO-
                                                             LANDEROS
11                                    Plaintiffs,

12     v.

13     CITY OF SEATTLE,

14                                    Defendant.

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            I, CESAR HIDALGO-LANDEROS, hereby declare as follows:
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            1.       I am over the age of 18 years old and am a citizen of the United States. I have
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     personal knowledge of the facts set forth herein and am competent to testify to them at trial.
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            2.       I am the supervisor for the Seattle Police Video Unit. I have participated in the
19
     Body Worn Video Program since its inception. This declaration will provide the Court with context
20
     on the process of searching for, retrieving, and producing Body Worn Video in the computer
21

       DECLARATION OF CESAR HIDALGO-
       LANDEROS - 1
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                                                                       SEATTLE, WA 98109
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 1   system utilized by the Seattle Police Department (SPD) when those videos are from a large scale

 2   event like a demonstration.

 3          3.       In 2018, the SPD fully implemented the Body Worn Video program, issuing over

 4   1,000 body cameras to its police officers. The department utilizes a cloud database storage,

 5   Evidence.com, where all SPD officers upload videos from their Body Worn device at the end of

 6   their shift. During a regular patrol shift, Body Worn devices are only activated based on specific

 7   criteria, and there are a variety of mechanisms (both automatic and manual) which result in specific

 8   video being associated in the system with a specific case, incident or call number once a video has

 9   been generated.

10          4.       The Video Unit heavily depends on provided case, incident and call report numbers

11   to search for and locate Body Worn Video.

12          5.       In the event of a large demonstration like the July 25, 2020 event, however, case

13   numbers are not automatically generated. There are also multiple officers at one or more locations.

14   This requires us to visually inspect each video if we receive a request for a certain incident during

15   a demonstration event, which is a far more labor intensive process than the normal easy retrieval

16   by using identifying numbers. When conducting that type of visual inspection of video, the fact

17   that officers are dressed in protective gear makes it difficult to identify who each officer is, which

18   further slows the process.

19          6.       With respect to the July 25, 2020 event, because we do not yet have incident

20   numbers assigned to videos, we have to do a basic search based on the date and location. In

21   response to that search, we located 1394 videos between the hours of 1300 hrs and 2100 hours.

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 1   There could be more if we do a more extensive search. The duration of each video located in that

 2   search varies from one minute to 90 minutes or more. If the average of each video is an hour, this

 3   amounts to having to search through 1394 hours worth of video to find any particular incidents

 4   from the July 25, 2020 event.

 5          7.       Because all of the involved officers have not yet completed their incident reports

 6   with respect to July 25, 2020, and without knowing the name or serial of an officer in a particular

 7   location where an incident happened, we will have to sift through and watch all 1394 videos to

 8   find each particular incident requested.

 9          I declare under penalty of perjury under the law of the United States that the foregoing is

10   true and correct.

11

12          SIGNED in Seattle, Washington this 28th day of July, 2020.

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15                                                ___________________________________
                                                  CESAR HIDALGO-LANDEROS
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       DECLARATION OF CESAR HIDALGO-
       LANDEROS - 3
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